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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RONALD A. SCOTT, JR.,                                :       CIVIL ACTION
Petitioner,                                          :
                                                     :
v.                                                   :
                                                     :
JAMEY LUTHER, et al.,                                :
Respondents.                                         :       No. 19-5903


                                            ORDER

JOHN M. YOUNGE, J.

                             16th day of _________________,
              AND NOW, this ______        October           2020, upon careful and

independent consideration of the petition for Writ of Habeas Corpus, together with the response

thereto, and after review of the Report and Recommendation of United States Magistrate Judge

Linda K. Caracappa, IT IS ORDERED that:

                1.    The Report and Recommendation is APPROVED and ADOPTED.

                2.    The petition for Writ of Habeas Corpus is DISMISSED with prejudice.

                3.    There is no probable cause to issue a certificate of appealability.

                4.    The Clerk of the Court shall mark this case closed for statistical purposes.

                                               BY THE COURT:

                                               /s/ John Milton Younge
                                              _______________________________
                                             JOHN M. YOUNGE, J.
                                             UNITED STATES DISTRICT JUDGE
